AO 199A(Rev.06/19)Order Setting Conditions of Release                                                P^e 1 of   \   Pages


                                 United States District Court
                                                                  for the
                                                        Eastern District of Virginia

                 United States of America


                                                                              Case No. \
                                            p(oe\
                          Defendant

                                       ORDER SETTING CONDITIGNS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal,state,or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C.§ 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4) The defendant must appear in court as required and,if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear;      .AV\v\fd                                     Dstr\cv CQu/"f
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                                                                                       Q-V \Qf^
                                                                   Date and Time



      If blank,defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond,if ordered.
